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                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS                     FiLED
                                      SAN ANTONIO DIVISION
                                                                                   APR O 4    2018
                                                                           CLERK   U.S.DISTRICT COURT
CASSANDRA POPPEN,                                                         WESTE      DISjRJC OVrEXAS



                  Plaint   iff;




V.                                                           Civil No. 5:16-CV-810-OLG

FLETCHER TRANSPORT, INC. and
JASON O'NEAL,

                  Defendants.


                                        FINAL JUDGMENT

        This action is a personal injury case related to a collision between a car that was driven

by Plaintiff Cassandra Poppen and a truck that was driven by Defendant Jason O'Neal. The

parties stipulated that the actions of Jason O'Neal on the date in question constituted negligence

and that Mr. O'Neal' s negligence was the sole proximate cause of the collision in question. See

docket no. 111. The parties further stipulated that Jason O'Neal was operating his vehicle in the

course and scope of his employment with Fletcher Transport, Inc. at the time of the accident in

question. Id.

        The issue of damages was tried before ajury from March 5, 2018 through March 6, 2018,

with the Honorable Orlando L. Garcia, Chief District Judge, presiding. The parties each

presented evidence as to the injuries suffered by Plaintiff as a result of the collision. Following

the presentation of that evidence, the jury was asked "what sum of money, if paid now in cash,

would fairly and reasonably compensate Cassandra Poppen for her injuries, if any, that resulted




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from the collision in question." The jury was instructed to respond as to eight separate elements

of damages, and the jury returned the following verdict:

       A.     Physical pain and mental anguish sustained in the past.
              Answer:         $50,000.00
       B.     Physical pain and mental anguish that, in reasonable probability, Cassandra
              Poppen will sustain in the future.
              Answer:         $10,000.00
       C.     Physical impairment sustained in the past.
              Answer:         $0.00
       D.     Physical impairment that, in reasonable probability, Cassandra Poppen will
              sustain in the future.
              Answer:         $0.00
       E.     Loss of earning capacity sustained in the past.
              Answer:         $1,000.00
       F.     Loss of earning capacity in reasonable probability, Cassandra Poppen will sustain
              in the future.
              Answer:         $0.00
       G.     Medical care and expenses incurred in the past.
              Answer:         $92,528.77
       H.     Medical care expenses that, in reasonable probability, Cassandra Poppen will
              incur in the future.
              Answer:         $0.00

       In accordance with the parties' stipulations and the jury's verdict, the Court enters

judgment as follows:

       IT IS ORDERED, ADJUDGED AND DECREED that Defendants Jason O'Neal and

Fletcher Transport, Inc. shall pay Plaintiff Cassandra Poppen the sum of $153,528.77, which

includes $50,000.00 for physical pain and mental anguish Plaintiff has sustained in the past,

$10,000.00 for physical pain and mental anguish that, in reasonable probability, Plaintiff will




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 sustain in the future, $1,000.00 for loss of earning capacity Plaintiff sustained in the past, and

 $92,528.77 for medical care and expenses Plaintiff incurred in the past.

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that costs shall be taxed

against Defendants pursuant to 28 U.S.C.         §    1920 and Fed. R. Civ. P. 54(d)(1). Plaintiff is

directed to file a Bill of Costs, in the form required by the Clerk of Court, within fourteen days of

entry of this judgment pursuant to Local Rule CV-54.

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendants Jason

O'NeaI and Fletcher Transport, Inc. shall pay Plaintiff Cassandra Poppen pre-judgment interest

on the sum of $143,528.77 at the rate of 5% per annum, to be paid from January 15, 2016 until

the day preceding the date of entry of this judgment.'

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED                                that, pursuant to

28 U.S.C.   §   1961, post-judgment interest shall accrue on all   of the above amounts allowable by
law at the rate of 2.06% per annum from the date of entry of this judgment until paid.

       All other relief not granted herein is denied.

       It is so ORDERED.

       Signed this         day of April, 2018.



                                            ORLANDO L. GARCIA
                                        Chief United States District Judge




  Based upon the jury's findings, $10,000.00 of the $153,528.77 sum is awarded as future
damages, and thus, that $10,000.00 portion of the overall award is not subject to pre-judgment
interest.
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